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                               UNITED STATES BANKRUPTCY COURT
                             EASTERN/WESTERN DISTRICT OF ARKANSAS
                                       JONESBORO DIVISION

In re: Melissa Y Hill                                                              Case No.: 3:19-bk-13986

                        APPLICATION FOR ATTORNEY’S FEES AND COSTS
                             FOR PRE-CONFIRMATION SERVICES

       Sara Rogers                          , Petitioner, and Attorney for the debtor(s), states as follows:

1.     Petitioner has or will perform the following legal services for the debtor(s) regarding this case:
       preliminary meetings with and counseling of the debtor(s); preparation and filing of petition, schedules,
       plan and any other required statements or support documentation; attendance at 341(a) meeting;
       advising the debtor(s) regarding requirements to obtain a discharge, including the obtaining of a
       financial management course; filing any required statements regarding completion of a financial
       management course and required certifications for domestic support obligations; routine consultation
       with the debtor(s) from time-to-time after confirmation regarding the status of the case and steps needed
       for plan completion, including without limitation, changes of address, changes in employer/employee
       withholding, review of summary notices of claims, review of annual/semi-annual reports, and review or
       preparation of miscellaneous correspondence regarding the case; and compliance with all requirements
       of the Bankruptcy Code, Federal Rules of Bankruptcy Procedure, General Orders, Local Rules and
       procedures. Additionally, Petitioner seeks reimbursement of actual and necessary costs for creditors
       served by regular mail (not to exceed $2.25 per creditor) or by certified mail (not to exceed $9 per
       creditor).

2.     Petitioner has reached the following arrangement with the debtor(s) for the services:

               Total Attorney Fee Requested:                              $ 3,500.00
                                                                          __________

               Less Fees Received Prior to Filing:                            $ 0.00
                                                                          __________
                      (Excluding filing fee)

               Plus Service Costs:
                                                     $ 2.25
                         17 regular mail notices @ ______):
                       (____                                                 $ 38.25
                                                                          __________
                                                      $ 9.00
                       (____ certified mail notices @ ______):            __________

               Total Fees and Costs for Pre-Confirmation Services:        $ 3,538.25
                                                                          __________

       This fee arrangement is     / is not ✔ a Life of Case fee.

3.     Petitioner further states that no understanding or agreement has been made directly or indirectly for the
       division of fees between Petitioner and the debtor(s) or any person, firm or corporation.
4.     The debtor(s) and Petitioner agree that the Trustee shall first pay administrative costs, then an initial fee
                         $ 1,500.00 , from funds paid to the Trustee by the debtor(s), and the remaining fee at
       to Petitioner of __________
                     25
       the rate of ______%  of the total disbursed to creditors each month.


       Approved by:                                                 Respectfully submitted
        /s/ Melissa Y Hill
       __________________________________                            /s/ Sara Rogers
                                                                    _____________________________________
       Debtor
       __________________________________
                                                                    Sara Rogers #2003175
       Debtor                                                       P.O. Box 5545
                                                                    West Memphis, AR 72303
                                                                    (870) 732-8787
